                                                                      (SPACE BELOW FOR FILING STAMP ONLY)
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 4
 5         ATTORNEYS FOR Defendant,
                  ALBERT LEWIS ELLIS
 6
 7
 8                                     UNITED STATES DISTRICT COURT
 9                                    EASTERN DISTRICT OF CALIFORNIA
10                                                    ********
11    UNITED STATES OF AMERICA,                          Case No.: 1:10-CR-00266
12               Plaintiff,                              STIPULATION TO CONTINUE
                                                         SENTENCING SCHEDULE AND HEARING
13             vs.                                       AND ORDER DENYING CONTINUANCE
14    ALBERT LEWIS ELLIS,                                Date: July 8, 2011
                                                         Time: 8:30 a.m.
15                     Defendant.                        Judge: Hon. Lawrence J. O’Neill
16
17            IT IS HEREBY STIPULATED by and between the parties hereto, and through their
18   respective attorneys of record, that the sentencing hearing currently scheduled for Friday, May 6,
19   2011, may be continued to Friday, July 8, 2011, at 8:30 a.m.
20            This continuance is requested because defense counsel has a conflict and will not be
21   available on the date currently set. Assistant United States Attorney, Michele L. Thielhorn, does
22   not oppose this request. The requested continuance will provide for continuity of counsel and
23   will conserve time and resources for both counsel and the Court.
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25   ///
26   ///
27   ///
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                                                            1            Further, the parties agree that the informal objections may be filed on or before June 3,
                                                            2   2011; formal objections may be filed on or before June 27, 2011.
                                                            3            DATED: April 20, 2011.
                                                            4                                                    NUTTALL COLEMAN & WILSON
                                                            5                                                    By: /s/ Roger T. Nuttall
                                                                                                                        ROGER T. NUTTALL
                                                            6                                                           Attorneys for Defendant
                                                                                                                        ALBERT LEWIS ELLIS
                                                            7
                                                            8            DATED: April 20, 2011.           BENJAMIN B. WAGNER
                                                                                                               United States Attorney
                                                            9
                                                           10                                                    By: /s/ Michele L. Thielhorn
                                                                                                                         MICHELE L. THIELHORN
NUTTALL COLEMAN & WILSON




                                                           11                                                            Assistant U.S. Attorney
                                                                                                                         Attorney for Plaintiff
                           2333 MERCED STREET, SUITE 101




                                                           12
                             FRESNO, CALIFORNIA 93721
                                PHONE (559) 233-2900




                                                           13                                  ORDER
                                                           14   The stipulation requests more than a 60-day continuance for no
                                                           15   reason other than defense counsel’s having a conflict with the
                                                           16   date currently set.              Defense Counsel was present when the date
                                                           17   was selected, and agreed to the date. Good cause has not been
                                                           18   provided.         Continuance denied.
                                                           19    IT IS SO ORDERED.
                                                           20   Dated:      April 22, 2011                        /s/ Lawrence J. O'Neill
                                                                b9ed48                                        UNITED STATES DISTRICT JUDGE
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